Case: 18-3018 Document: 003113122920 Page: 1 Date Filed: ofeneht9 <O x

APOE ee

=

This is Mr Orlando Acosta appellate this is a motion requesting permission from the court to file
a motion of leave for me to be able to use this correspondence as a response letter to the court. in
regards to defendants request to the court to leave without filing a brief in this case. | am
objecting to the defendants requesting to the court to be release from this case all the defendants
that are listed below in this case are all very key to this case because they all were very active in
the fraudulent activity of the special election of 2017 there is video showing the intimidation
being done to voters I am strongly asking the court not to Grant the defendants request to be
released from this case. The reason why I have not responded Within the 14 day time frame as
required under the federal rules of civil procedure was due to a medical illness thank you very
much sincerely yours Mr Orlando Acosta. PS I am requesting permission from the court to have
the opportunity to present oral arguments in regards to this case.

Number | Carlos Matos piers aS 1
Number 2 Elaine Tomlin - ~~ :
Number3 Jewell Williams to . 734,
Number 4 Dwayne Lilley Se
Number 5. Shirley George

Number 6 Amor Brawne

by Obert helo
